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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

STACIE NICHOLE DUNN                                               PLAINTIFF

VS                                   CIVIL ACTION NO.: 3:15-CV-352-DPJ-FKB

LAUDERDALE COUNTY, AND
WILLIAM D. (BILLY) SOLLIE IN HIS
OFFICIAL CAPACITY AS SHERIFF OF
LAUDERDALE COUNTY, MISSISSIPPI, AND
JOHN DOE DEFENDANTS ONE THROUGH TEN                            DEFENDANTS




                          EXHIBIT 7:

       DEPOSITION (EXCERPT)
         OF KEN DELANEY
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                      IN THE UNITED STATES COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION


     STACIE NICHOLE DUNN                                      PLAINTIFF

     VS.                      CIVIL ACTION NO. 3:15-CV-352-DPJ-FKB

     LAUDERDALE COUNTY, KEN DULANEY,
     INDIVIDUALLY AND IN HIS OFFICIAL
     CAPACITY AS A LAUDERDALE COUNTY
     SHERIFF'S DEPUTY, AND WILLIAM D. (BILLY)
     SOLLIE IN HIS OFFICIAL CAPACITY AS
     SHERIFF OF LAUDERDALE COUNTY, MISSISSIPPI
     AND JOHN DOE DEFENDANTS ONE THROUGH TEN                 DEFENDANTS


                ***************************************

                            ORAL DEPOSITION OF

                                KEN DULANEY

                             JANUARY 24, 2017

                               Volume 1 of 1

               ****************************************



           ORAL DEPOSITION OF KEN DULANEY, produced as a

     witness at the instance of the Plaintiff, and duly sworn,

     was taken in the above-styled and -numbered cause on the

     24th day of January, 2017, before Megan Reeves, CCR in

     and for the State of Mississippi, reported by machine

     shorthand, at the offices of Barry, Thaggard, May &

     Bailey, LLP, 505 Constitution Avenue, in the City of

     Meridian, State of Mississippi.




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                                                                Page 10
  1           Q    Was that offshore or onshore?
  2           A    Offshore.
  3           Q    When did you first receive any training
  4   toward a law enforcement career?
  5           A    I'm sure there was some in-service
  6   training during that first year.           I went to the
  7   academy in January of 1993.
  8           Q    Were you employed in a -- as a law
  9   enforcement officer before going to the academy?
 10           A    Yeah.   Because at the time you had
 11   12 months from the time you were hired to be in the
 12   academy.     So I was employed during that time.
 13           Q    All right.     So by what agency?
 14           A    At that time it was the University Medical
 15   Center Police Department, and I believe at the time
 16   I was also working part time for Copiah County
 17   Sheriff's Office.
 18           Q    So you were working full time at Noble
 19   Drilling and then went to work for the University?
 20           A    Yes.
 21           Q    Okay.   And contemporaneously you were
 22   working part time for the sheriff?
 23           A    Yeah.
 24           Q    Okay.
 25           A    Well, it was -- at some point during that


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  1   time, it was reserves and then at some point part
  2   time.
  3           Q    Okay.   Started out as reserve and then
  4   transitioned into being a part-time officer?
  5           A    I just filled in part time when they
  6   needed help.
  7           Q    Okay.   Can you -- do you recall what years
  8   you were with the Copiah County -- Copiah County SO?
  9           A    Not exactly.
 10           Q    But it --
 11           A    I went to work for them full time in, I'm
 12   thinking, '94.
 13           Q    Okay.   What did -- when did you complete
 14   your training at the academy?
 15           A    I think in March of '93.
 16           Q    Okay.   And what did you do between the
 17   time you graduated from the academy and the time you
 18   started full time with Copiah Sheriff?
 19           A    Worked for University.
 20           Q    Okay.   Okay.    Who was the sheriff in
 21   Copiah at the time?
 22           A    I'm trying to think if he was still in
 23   office.     I think at the time I got hired full time,
 24   it was Bob Clower.
 25           Q    Okay.   And did you work under another


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  1   sheriff after Sheriff Clower?
  2           A    No.   When Sheriff Clower lost the
  3   election, I went to work for the Vicksburg Police
  4   Department.
  5           Q    Okay.   Before we leave the topic of
  6   Copiah, what were your duties with the Copiah SO?
  7           A    I was a road deputy and, I guess you could
  8   say, part-time investigator.
  9           Q    Okay.   And when did you go to work for
 10   Vicksburg PD?
 11           A    I want to say it was January of '95.
 12           Q    In what capacity?
 13           A    Patrolman.
 14           Q    Okay.   Who was your supervisor at
 15   Vicksburg?
 16           A    My shift commander was Robert -- no.           Not
 17   Robert.     Jack Dowe.
 18           Q    Dow, D-O-W?
 19           A    D-O-W-E.
 20           Q    Okay.   And how long were you with
 21   Vicksburg?
 22           A    Until around the first of 2000.
 23           Q    So nearly five years?
 24           A    Yeah.
 25           Q    Were you a patrolman throughout that


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  1   entire five-year period?
  2           A     Yes.
  3           Q     When you left Vicksburg Police Department
  4   in 2000, where did you go to work?
  5           A     Lauderdale County Sheriff's Department.
  6           Q     Okay.   What was your reason for leaving
  7   Vicksburg?
  8           A     A change of jobs, getting out of
  9   Vicksburg.      I was -- my wife and I had had some
 10   problems.      We had separated and got back together,
 11   and we was trying to make a new start.
 12           Q     Okay.   Okay.   And when you started with
 13   the Lauderdale County Sheriff, in what -- what were
 14   your duties?
 15           A     Road deputy.
 16           Q     Okay.   How long did you serve as a road
 17   deputy?
 18           A     Promoted to shift supervisor, I think, in
 19   2002.       I believe that's right.
 20           Q     Okay.
 21           A     I worked in that capacity until, I want to
 22   say, October of 2004.
 23           Q     Okay.   Where did you go in October of
 24   2004?
 25           A     Interstate interdiction.


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  1           Q    Is that as a deputy?
  2           A    Yeah.   Well, I was a deputy assigned to
  3   work interstate drug interdiction, assigned under
  4   the East Mississippi Drug Task Force.
  5           Q    Oh, okay.    So did you report to the -- to
  6   the commander of the task force?
  7           A    Yes.
  8           Q    Okay.   Is he called the commander or is he
  9   agent in charge, or what do y'all call him?
 10           A    Commander.
 11           Q    Commander.     Okay.   Who was the --
 12           A    Actually, the major over the task force.
 13           Q    Who was the major in command at that time?
 14           A    Steve Spears.
 15           Q    Okay.   At some point didn't you train as a
 16   K-9 officer?
 17           A    Yes.
 18           Q    When was that?
 19           A    The first dog, I believe, was in ninety --
 20   '95 or '96.
 21           Q    Okay.   So you were --
 22           A    I'm not sure.
 23           Q    So you were a K-9 officer before you came
 24   to Meridian?
 25           A    No.    I'm sorry.    2005, 2006.


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  1           Q    Oh, okay.
  2           A    Somewhere around in there.
  3           Q    Okay.   Okay.    So you trained as a K-9
  4   officer when you were with the interstate
  5   interdiction unit?
  6           A    That's correct.
  7           Q    Okay.   All right.     And then did you
  8   transition from there into being a regular agent
  9   with the task force?
 10           A    Yes.
 11           Q    Okay.   When approximately was that?
 12           A    I think it was the end of 2012, I think.
 13           Q    Okay.
 14           A    That's approximately.       I don't know the --
 15           Q    I won't hold you to it specifically.           I'm
 16   just trying to get a -- get a frame of reference.
 17   Was Major Spears still in command at that time or
 18   did you have a new commander?
 19           A    I honestly can't remember whether Steve
 20   Spears was still there or whether Greg was already
 21   the commander.
 22           Q    Okay.   So it was either Major Spears or
 23   Major Lea, Greg Lea?
 24           A    Yes.
 25           Q    And Greg Lea is L-E-A; isn't it?


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  1           A    Yes.
  2           Q    Okay.    All right.    What were your duties
  3   and responsibilities as a task force agent?
  4           A    Once I transferred back to the task force
  5   office?
  6           Q    Yeah.
  7           A    Narcotics investigator.
  8           Q    Okay.    All right.    Now, I'm sure you're
  9   aware that the event that we're here to talk about
 10   today occurred on October the 2nd, 2013.
 11           A    Yes.
 12           Q    Do you recall that?
 13           A    (Witness nodding head.)
 14           Q    Okay.    Were you serving as a narcotics
 15   investigator at that time?
 16           A    I was.
 17           Q    Okay.    And I understand from talking to
 18   the sheriff earlier today that throughout this
 19   period of time that you were serving as -- when you
 20   were attached to the task force that you also had
 21   some duties and responsibilities for firearms
 22   training; is that correct?
 23           A    That's correct.
 24           Q    Okay.    Well, tell me about that, please.
 25           A    I was a firearms instructor before I left


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  1    Vicksburg.     I came to Lauderdale County and I --
  2    shortly after I got here, I was assigned as a
  3    firearms instructor here.
  4           Q    Okay.
  5           A    Over the course of however many years,
  6    I've got, I believe, five integrated law enforcement
  7    instructor certifications.
  8           Q    Okay.    Are those annual certifications?
  9           A    They're every three years.
 10           Q    Okay.
 11           A    Well, they renew every three years.
 12           Q    Okay.
 13           A    And then within that three years, you
 14    have -- I believe it's twenty -- 21 hours,
 15    continuing education hours, that can be
 16    firearms-related training within that three years.
 17           Q    Okay.
 18           A    That renews the --
 19           Q    Where --
 20           A    -- certification.
 21           Q    Oh, excuse me for cutting you off.           Where
 22    do you -- where did you obtain the 21 hours of
 23    continuing education?
 24           A    It can be any firearms-related school or
 25    training.


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  1           Q    Okay.    Is it -- can it be within your own
  2    agency or do you have to go to a school?
  3           A    You go to a school.
  4           Q    Okay.
  5           A    It's not in-service training.
  6           Q    Okay.    So you --
  7           A    Part of it -- and part of it was done as
  8    they came up for renewal.        I just got another NRA
  9    instructor school that, in turn, renewed it.
 10           Q    Okay.    So you could use the -- the NRA
 11    instructor school to renew could qualify -- could
 12    satisfy your 21-year -- 21 hours of continuing --
 13           A    Yes.
 14           Q    -- education requirements?
 15           A    Yes.
 16           Q    Okay.    All right.     What other types of
 17    courses did you attend -- firearms-related courses
 18    did you attend other than NRA classes?
 19           A    Other than NRA classes?        Specifically, I
 20    can't remember.      I mean, you know, my school is
 21    dating back to, I think, 1998, is when I got the
 22    first --
 23           Q    Okay.
 24           A    -- instructing -- instructor
 25    certification.


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  1           Q    But you did go to some not in-service
  2    training classes?
  3           A    Within the -- within those time periods,
  4    yes.
  5           Q    Okay.    Do you recall where you went?
  6           A    Not specifically.
  7           Q    Or what organization provided the training
  8    to you?
  9           A    Not specifically.
 10           Q    Okay.    What, if any, training did you have
 11    with regard to either planning or conducting raids
 12    or warrant services?
 13           A    High-risk raid planning and execution.               I
 14    believe that was at RTCA, but that's the only one I
 15    specifically remember.
 16           Q    Okay.    And that's the Regional Counterdrug
 17    Training Academy?
 18           A    Yes.
 19           Q    Okay.    And do you recall how many hours
 20    that was?
 21           A    I do not.
 22           Q    Okay.    And do you recall approximately
 23    when you attended that course?
 24           A    I don't.
 25           Q    Okay.    With regard to the events that


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  1    occurred on October the 3rd, 2013, were you involved
  2    in any of the intelligence gathering that led to the
  3    raid that occurred on that date?
  4           A    I was not the case agent on the buy and I
  5    was not the case agent on the search warrant.             Now,
  6    did I have some -- some part in the buy, I probably
  7    did.   I can't remember specifically, but I was not
  8    the case agent.
  9           Q    Okay.    Other than the -- other than the
 10    controlled buy that occurred a day or so before the
 11    raid, was there any intelligence gathered either on
 12    the subject of the warrant or on the premises that
 13    was to be searched?
 14           A    Going strictly by memory, and that's
 15    three-and-a-half years old, there was an informant
 16    that called and provided me some information to
 17    relay to Major Greg Lea.        For whatever reason, he
 18    always called me to get ahold of Greg.           I took that
 19    information; I passed it on to Major Lea.            Past
 20    that, I -- I don't remember.
 21           Q    Is he a -- was he a confidential
 22    informant?
 23           A    Yeah.
 24           Q    Was he a coded informant?
 25           A    He was.


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  1           Q    Okay.    Is he still a coded informant, as
  2    you -- as far as you know?
  3           A    As far as I know, he is.
  4           Q    Okay.    Do you recall -- I'm not asking you
  5    to identify him, but do you know who he was?              Could
  6    you identify him if a court directed you to?
  7           A    I know who the informant was.          Yes.
  8           Q    Okay.    What information did the informant
  9    provide you?
 10           A    Basically the presence of a firearm inside
 11    the residence, and I want to say he said some
 12    stolen, or what he believed to be stolen,
 13    pharmaceuticals hidden at the residence.
 14           Q    What, if any, information did you have at
 15    the time that led you to deem this confidential
 16    informant as a reliable source?
 17           A    (No response.)
 18           Q    If you did.     Did you deem him to be a
 19    reliable source?
 20           A    I did based on information he had provided
 21    in the past.
 22           Q    How often had he provided information to
 23    you in the past?
 24           A    He was not my informant, and I couldn't
 25    give you an accurate answer to that.


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  1           Q    Had he ever provided information to you
  2    prior to the events that you've just described to
  3    me?
  4           A    In the same manner, he would call me to
  5    get ahold of Greg and I would pass the information
  6    to Greg, but specifically I can't remember.
  7           Q    Okay.    I'm not sure I understand.         Was
  8    this confidential informant calling you and then
  9    giving you information that you gave to Major Lea,
 10    or was he just calling you and you put him in
 11    contact with Major Lea?
 12           A    He called and -- he had called Major Lea
 13    on different occasions.        Occasionally, he would call
 14    me.    He would give me information and I would pass
 15    it on to Major Lea.       Now, whether he, in turn,
 16    contacted the informant back, I don't know that.
 17    But he called, this is what he wanted.
 18           Q    Okay.
 19           A    I gave him that information.         Now, where
 20    it went after that...
 21           Q    Okay.    It sounds to me -- and don't let me
 22    mischaracterize this -- but am I correct in my
 23    assumption that you didn't evaluate the reliability
 24    or value of the information that was given to you by
 25    the confidential informant?


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  1                MR. WOLF:     I'm going to object to the form
  2           of the question.     Answer if you can.
  3           A    I was party to deals that the -- that the
  4    informant had completed with Major Lea on previous
  5    occasions.     So in my -- I had personal knowledge
  6    that he had provided information or performed tasks
  7    that had proved to be credible.
  8    BY MR. MALTA:
  9           Q    Okay.    Had you used him as a -- to make
 10    controlled buys in -- prior to October the 2nd,
 11    2013, or had the task force, more correctly?
 12           A    The task force had.
 13           Q    And you were aware of that?
 14           A    I was.
 15           Q    Okay.    How often had you -- or are you
 16    aware that the force employed that particular
 17    confidential informant in that manner?
 18           A    I would say several times.         I couldn't
 19    give you an exact number.
 20           Q    Would several be as many as half a dozen?
 21           A    I really don't recall.
 22           Q    Okay.
 23           A    There again, he was not my informant.
 24           Q    Okay.    Was he a different informant from
 25    the informant who was used for the controlled buy on


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  1    the individual who was the subject of the warrant
  2    that's at issue in this lawsuit?
  3           A    I'm trying to remember who did the -- yes.
  4    He was.
  5           Q    Okay.    And I believe I understood you to
  6    testify earlier that you were not involved in -- in
  7    that particular buy operation; correct?            The one
  8    than predicated the search warrant.
  9           A    Sir, I was not the case agent.          I'm not
 10    going to tell you I wasn't there because I probably
 11    was --
 12           Q    Okay.
 13           A    -- whether it was just in a security role
 14    or whatever.     But I was probably there but I was not
 15    the case agent.
 16           Q    Okay.    Was there any intelligence gathered
 17    by surveillance or any other means on the premises
 18    prior to the execution of the search warrant on
 19    October the 2nd, 2013?
 20           A    I know there were -- I believe it was the
 21    day of the warrant, and there were pictures taken of
 22    the residence, and I was there for that.
 23           Q    Who took those photographs?
 24           A    I want to say it was -- I want to say it
 25    was myself and Major Lea.        Now, who actually took


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  1    the pictures, I don't recall, but...
  2           Q    All right.     Now, are you talking about the
  3    photographs that were taken after the warrant was
  4    executed?
  5           A    No.    No.   Prior to the warrant being
  6    executed.
  7           Q    Okay.    So these were photographs of the
  8    exterior of the --
  9           A    Yes.
 10           Q    -- building?      Okay.
 11           A    The -- any information coming on the
 12    interior of the vehicle -- or interior of the
 13    building.    The informant that conducted the buy on
 14    the previous date provided a layout as best he could
 15    of what the inside of the residence looked like.                 I
 16    cannot remember -- because a lot of the places we
 17    deal with, officers have been to or in in the past.
 18    I can't remember whether that was the case or not,
 19    but there was a description of the inside of the
 20    residence --
 21           Q    Okay.
 22           A    -- provided by the confidential informant
 23    that conducted the controlled purchase.
 24           Q    Was that actually drafted out, diagrammed
 25    out?


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                                                                Page 26
  1           A    I believe it was.
  2           Q    Do you recall who did that?
  3           A    I don't.
  4           Q    Do you know if that document still exists?
  5           A    I do not.
  6           Q    Do you recall how accurate it was,
  7    compared to what you actually found on the ground?
  8           A    Specifically, I -- I don't remember.
  9           Q    Okay.    What role, if any, did you play in
 10    pre-raid planning for the October 2nd, 2013
 11    operation?
 12           A    The planning part?       None, I don't believe.
 13           Q    Okay.
 14           A    I was at the pre-raid meeting where we sat
 15    down, this is who's going, this is what vehicles
 16    we're going in, this is the order we're going to
 17    enter the house.      But as far as the actual planning,
 18    no.
 19           Q    Okay.    So the pre-raid meeting you don't
 20    really classify as a planning session?           It's more of
 21    a briefing?
 22           A    As far as my part of it, it was a
 23    briefing.    I did not, per se, take place in the
 24    actual planning.
 25           Q    Okay.    Okay.    And am I fair to conclude


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  1    that you didn't have any -- you didn't make any of
  2    the decisions about how the raid was to be
  3    conducted?     Is that a fair conclusion?
  4           A    Outside of general discussion, no.
  5           Q    Okay.    Who did make those determinations?
  6           A    All of that would have been made above my
  7    pay grade, regardless of whether I was the case
  8    agent or -- I mean, it would have been a -- we
  9    discussed the situation.        Now, whether the sheriff,
 10    the chief deputy, the major, I assume hashed those
 11    details out as to exactly how we're going to carry
 12    it out.
 13           Q    Okay.    What role was assigned to you with
 14    respect to the raid itself?
 15           A    Entry.
 16           Q    Okay.    So you were going to be part of the
 17    entry team?
 18           A    Yes.
 19           Q    How many people were on the entry team?
 20           A    I can't remember exactly.         Probably five.
 21    But, there again, I'm operating solely off of a
 22    three-and-a-half-year-old memory.          I'm sure probably
 23    in my statement to MBI, when it was all fresh in my
 24    mind, it may be more accurate as to how many people
 25    were actually on the entry team.          I can't remember.


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  1           Q    That's fair.      Did you follow any standard
  2    procedures, though -- did the entry team follow
  3    standard procedures?
  4           A    Can you clarify the question?
  5           Q    Were there certain things that the entry
  6    team did any time you executed a high-risk search
  7    warrant?
  8           A    I'm sure there were a lot of things we did
  9    any time we operated -- you're going to have to be
 10    more specific with the question.
 11           Q    Okay.    Okay.    Where on the entry team did
 12    you serve?     Which entrance to the building were you
 13    assigned to and what position were you assigned to?
 14           A    I was -- went to the front door, and I
 15    think I was probably -- and there again, my -- my
 16    statement right after the fact is, I'm sure, more
 17    accurate than my memory.        I'm thinking three or
 18    four.
 19           Q    You were in the third or fourth position
 20    going through the door?
 21           A    I'm thinking that's right.
 22           Q    By what mechanism did you -- was the door
 23    forced?
 24           A    Rammed.
 25           Q    Okay.    Who wielded the ram?


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  1           A    To the -- to the best of my recollection,
  2    I'm thinking it would have been Daniel Boyd; but,
  3    there again, I'm sure my statement is more accurate
  4    than my memory.
  5           Q    What's the protocol for the ram man?           Does
  6    he knock the door in?       Does he then go in the door
  7    or does he stand aside?
  8           A    He would have stood aside.
  9           Q    Okay.    So he's not counted as number one;
 10    right?
 11           A    He's not the first man through the door,
 12    no.
 13           Q    Okay.
 14           A    But for the purposes of where I'm at in
 15    line going to the house, he would have been in the
 16    lead.
 17           Q    I gotcha.     Do you recall who the first man
 18    through the door was?
 19           A    I don't.
 20           Q    What is your recollection of what your
 21    assignment was once the front door of the building
 22    was breeched?     What were you supposed to do?
 23           A    Go through the common area of the house.
 24    It would have been a bedroom immediately to the
 25    right inside the door, to the best of my


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  1    recollection.     A common area just past that first
  2    bedroom was what we'll call a hallway.           That was the
  3    area I was going to.
  4           Q    Okay.    So the bedroom that was to your
  5    immediate right when you went through the door was
  6    not your area of responsibility?
  7           A    No.
  8           Q    Okay.    Do you recall who was --
  9           A    No.
 10           Q    -- responsible for that area?
 11           A    I don't.
 12           Q    Okay.    So after you -- after the common
 13    area was deemed clear, you proceeded through the
 14    common area and down a hall?
 15           A    As I proceeded through the door, we
 16    encountered -- I don't know how many people --
 17    numerous people in the common area of the house.
 18           Q    Okay.
 19           A    There was an agent there ordering them to
 20    the ground.     I paused just long enough to see that
 21    they were complying.       I proceeded on to that short
 22    hallway area, and what was taking place behind me, I
 23    don't know.
 24           Q    Okay.    That was not your responsibility to
 25    take those people down?


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  1           A    No.
  2           Q    Okay.    All right.     So as I understand it,
  3    you went to a hallway that was essentially directly
  4    in front of you from the front door?
  5           A    It would have been past the first bedroom
  6    and to the right.
  7           Q    Okay.    And the first bedroom is the one
  8    that you previously described as being on the right?
  9           A    Yes.
 10           Q    Okay.
 11           A    Well, it would have been -- you go through
 12    the front door, there would have been a doorway to
 13    the right.     Just past it is -- we're calling that a
 14    hallway.    It's actually very short.         Then to what
 15    ended up being a bedroom and a bathroom.
 16           Q    All right.     How are your drawing skills?
 17           A    Not very good.
 18           Q    Would you mind diagramming it out for me?
 19    Just do your -- do your best.
 20           A    If you would have wanted a diagram the day
 21    after it happened, I may could have done it; but
 22    three-and-a-half years later, I don't know how
 23    accurate my memory is.
 24                       (Witness drawing.)      There's some
 25    stuff back here (indicating), I think, but I don't


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  1    remember.
  2           Q    Okay.    If you will -- thank you for -- I'm
  3    sorry to put you on the spot like that -- like this,
  4    but it's helpful to me.        Would you mark the front
  5    door for me, and you can just use an "A" or a "1,"
  6    whatever you're comfortable doing.
  7           A    (Witness complying.)
  8           Q    Okay.    You've marked the front door, then,
  9    with a "1."     Okay.
 10           A    Yeah.
 11           Q    And then show me the front bedroom that
 12    you were describing.
 13           A    This would have been a doorway on the
 14    right (indicating).
 15           Q    Okay.    And just mark that front bedroom
 16    with a "2," then.
 17           A    Uh-huh.     (Witness complying.)
 18           Q    Would you mark it with a "2," please?
 19           A    I did.
 20           Q    Oh, I'm sorry.      I didn't -- okay.       And so
 21    you marked the doorway to the second bedroom with a
 22    "2"?
 23           A    Yeah.
 24           Q    Okay.    And then did you draw the hall that
 25    you were describing earlier, the short little


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  1    hallway?
  2           A    Yes.
  3           Q    And -- okay.      Would you mark it with a
  4    "3."
  5           A    (Witness complying.)
  6           Q    Okay.    And then the door at the end of the
  7    hallway, is that the door to the room where my
  8    client was asleep?
  9           A    No.
 10           Q    Okay.    Show me the door that went to the
 11    room where my client was asleep.
 12           A    (Witness drawing.)
 13           Q    Okay.    What did you just mark that with?
 14           A    "5."
 15           Q    A "5."    Okay.
 16           A    This is "4."
 17           Q    Okay.    What is "4," then?
 18           A    It's a small bathroom.
 19           Q    Okay.    All right.     So "1" is the front
 20    door, "2" is the doorway to the first bedroom, "3"
 21    is the short hallway, "4" is the bathroom, and "5"
 22    is the doorway to the bedroom where my client was
 23    located.
 24           A    This doorway is actually -- that door is
 25    actually kind of recessed, to the best of my --


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                                                                Page 34
  1           Q    Okay.
  2           A    -- recollection.
  3           Q    Okay.    All right.     Do you recall -- did
  4    you have a pretty clear understanding that that's
  5    where you were headed before you went into the
  6    building, or were you just generally supposed to go
  7    in that direction and clear that part of the house?
  8           A    It's -- we came through the door.           There
  9    should have been somebody ahead of me that would
 10    have taken the first doorway to the right.            Somebody
 11    would have cleared this common living area here
 12    (indicating).     I would have proceeded on to the next
 13    opening (indicating).
 14           Q    Okay.    All right.     Were you -- was anybody
 15    assigned to go with you on the duty to clear the
 16    openings to the right?
 17           A    There may have very well been, but all of
 18    this stuff is happening in a matter of seconds.
 19           Q    Yes, sir.
 20           A    And it's all fluid.       The best laid plans
 21    change as you encounter stuff within the house.
 22           Q    Okay.    Okay.    As a practical matter,
 23    did -- was there another agent with you?
 24           A    There was a -- there was another agent
 25    that came behind me at some point, but I think he


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  1    held up --
  2           Q    Okay.
  3           A    -- briefly in this common living area
  4    (indicating).
  5           Q    Okay.    Who was that?
  6           A    I think it was Agent Mercado.
  7           Q    Okay.    Macada?
  8           A    Mercado.
  9           Q    Mercado.     Okay.   Thank you.     And -- okay.
 10    Did you check the bathroom door?
 11           A    Yes.
 12           Q    Was it opened or closed?
 13           A    To the best of my recollection, it was
 14    opened.
 15           Q    Okay.
 16           A    But looking into this doorway
 17    (indicating), I want to say as you enter the doorway
 18    to the left, there was a bathtub set back to the
 19    left, maybe a sink or something on the other side.
 20    I can't remember.      I could see straight into the
 21    doorway, but to clear the whole bathroom, I
 22    physically had to go through the door, clear the
 23    bathtub area, come back out.
 24           Q    Okay.    And you did that before you went to
 25    the doorway that you've marked as Area Number 5 on


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  1    your chart?
  2           A    That's correct.
  3           Q    Okay.    On your diagram, I mean.        Okay.
  4    All right.
  5                MR. MALTA:     Do either of you have an
  6           objection to marking this as an exhibit?
  7                MR. WOLF:     No.
  8                MR. THAGGARD:       No.
  9                MR. MALTA:     Okay.
 10                             (Exhibit 2 was marked.)
 11    BY MR. MALTA:
 12           Q    All right, Agent Dulaney.         After you
 13    assured yourself that the -- the bathroom was
 14    cleared; right?
 15           A    It was.
 16           Q    Okay.    After you assured yourself that no
 17    one was in the bathroom, to where did you turn your
 18    attention?
 19           A    Back to this doorway (indicating).
 20           Q    Okay.    And you're indicating on diagram --
 21    or excuse me.     On Exhibit Number 2, you're
 22    indicating the doorway that you've marked as
 23    Number 5?
 24           A    That's correct.
 25           Q    Okay.    And where was Agent Mercado at the


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  1    point that you refocused your attention on Doorway
  2    Number 5?
  3           A    He was not there.       I'm assuming he was
  4    still in the common area of the living room.
  5           Q    Okay.    Was there -- were there any agents
  6    in your immediate area?
  7           A    No.
  8           Q    Okay.    All right.     Did you test the
  9    doorway number -- that you've marked as Number 5?
 10           A    Test it as...
 11           Q    Did you try to open it?
 12           A    I checked -- trying to be quiet, I tried
 13    to check to see if it was locked.          I believed it to
 14    be locked.
 15           Q    Okay.    What led you to believe it was
 16    locked?
 17           A    That -- I turned the doorknob and it
 18    didn't move.
 19           Q    Okay.    Did you announce yourself?
 20           A    We kicked the front door.         We were
 21    announcing ourself all the way through the house.
 22           Q    Okay.    Did you announce yourself?
 23           A    I'm sure I did.
 24           Q    Okay.    But you don't recall specifically?
 25           A    I'm sure I announced myself.         Yes.


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  1           Q     Okay.   In what manner did you commonly
  2    announce yourself?
  3           A     Sheriff's office.
  4           Q     Okay.   Okay.    And -- all right.      When you
  5    found the door closed -- Door Number 5, we're going
  6    to -- I'm going to call it, if you don't mind --
  7    what did you do?
  8           A     I kicked the door open.
  9           Q     Okay.   All right.     We'll come back to
 10    that.      Let me ask you about your weapon.
 11           A     Okay.
 12           Q     What kind of -- what kind of firearm were
 13    you carrying that day?
 14           A     A Glock 21.
 15           Q     Okay.   I've heard it described as a
 16    Generation 1.       Is that -- is that a fair
 17    description?
 18           A     I don't believe it would have been a
 19    Gen 1.
 20           Q     What was it, then?
 21           A     I believe -- I want to say it was a Gen 3.
 22           Q     Okay.   What caliber weapon is that?
 23           A     Forty-five ACP.
 24           Q     Okay.   And that's a semiautomatic pistol?
 25           A     Yes.


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  1           Q    Okay.    How long did you carry that
  2    particular weapon?
  3           A    Probably six years.
  4           Q    Okay.
  5           A    Somewhere thereabouts.
  6           Q    Okay.    So you probably first trained on
  7    the Glock 21 in 2005 or '06?
  8           A    All right.     Are you talking about that
  9    particular weapon or that particular model weapon?
 10           Q    Well, actually your -- thank you for
 11    correcting me, because I did ask you about that
 12    particular weapon.       Let me -- let me ask you about
 13    that -- that type of weapon.         When did you first
 14    become familiar with and train on a Glock 21?
 15           A    In 2000.
 16           Q    Okay.    And when did you start carrying
 17    Glock 21s?
 18           A    In 2000.
 19           Q    Okay.    So you had carried a Glock 21 for
 20    about 13 years at the time of this raid?
 21           A    Yes.
 22           Q    Okay.    And you had carried this particular
 23    weapon that was involved in the shooting for how
 24    long?
 25           A    Maybe six years.


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  1           Q     Okay.   All right.     And had that weapon
  2    been modified?
  3           A     No.
  4           Q     Okay.   Had the weapon been inspected?
  5           A     It was periodically inspected.
  6           Q     Who inspected it?
  7           A     At which time?     I --
  8           Q     Well, when you say "it was periodically
  9    inspected," what would -- under what periods of
 10    time?      Was there a -- was there a -- was there
 11    specific -- was there a specific time frame in which
 12    the weapon was supposed to be inspected?
 13           A     I don't recall.     And as accreditation
 14    changed things and policy changes, I mean, it could
 15    have changed.      I really don't recall.
 16           Q     Okay.
 17           A     But an armorer -- an armorer would have
 18    inspected it.
 19           Q     Okay.
 20           A     The last person that inspected it, I
 21    think, was Lieutenant Ruston Russell, I believe.
 22           Q     Approximately when would that have
 23    occurred?
 24           A     I don't recall.
 25           Q     When you say the last person who inspected


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  1    it, that would be the last time preceding the
  2    incident that occurred on October the 2nd, 2013?
  3           A    I can't remember if that was right before
  4    or right after, but the last departmental weapon
  5    inspection that I can remember going to, I believe
  6    Lieutenant Russell inspected it.          Now, exactly when
  7    that was, I can't tell you.
  8           Q    Okay.    Do you recall any other
  9    departmental weapons inspections other than that
 10    one?
 11           A    Sure.    But I can't tell you who -- who did
 12    them.
 13           Q    Okay.    Should there be documentation of
 14    those inspections?
 15           A    There is an inspection form.
 16           Q    Okay.    How often did you have to
 17    periodically certify on the Glock 21?
 18           A    You're talking about qualifications?
 19           Q    Yes.    To qualify.
 20           A    Twice a year.
 21           Q    Okay.    And were you current on October the
 22    2nd, 2013, as far as you recall?
 23           A    Yes.
 24           Q    Okay.    And where had you qualified?         On
 25    the -- on the sheriff's range?


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  1           A    Yes.
  2           Q    Okay.
  3           A    Or wherever we were holding departmental
  4    qualifications at the time.         Sometimes that was at
  5    Sandflat and sometimes at Modern Outfitters.
  6           Q    Okay.    What was the policy or what was the
  7    protocol that you were supposed to follow with
  8    regard to safety, to safely handle your weapon
  9    during a high-risk -- during the service of a
 10    high-risk search warrant?
 11           A    Can you be more specific with the
 12    question?
 13           Q    Sure.    Does that particular weapon have a
 14    safety catch?
 15           A    A external manual safety, no.
 16           Q    Okay.
 17           A    Internal safety mechanisms, yes.
 18           Q    What is -- describe the internal safety
 19    mechanism that's featured on that weapon for me,
 20    please.
 21           A    I'm not a firearms engineer.         I'm telling
 22    you there are safety mechanisms engineered into the
 23    firearm.    It does not have a external safety
 24    mechanism.
 25           Q    Okay.    What's your understanding of how


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  1    the internal safety mechanism works?           What does it
  2    do?    Does it make the trigger harder to pull or what
  3    does it do?
  4           A     There is a lever on the front of the
  5    trigger that allows the trigger to move rearward
  6    and -- there again, I'm not a firearms engineer.
  7    A -- I want to say a firing pin safety block.
  8           Q     Okay.    All right.    So since there's no
  9    safety catch on the weapon, what -- how are you
 10    supposed to handle the weapon when you're executing
 11    a high-risk search warrant?
 12           A     The firearm would have been in my hand, my
 13    finger indexed along the side of the frame and the
 14    muzzle pointed in the safest direction possible.
 15           Q     Okay.    And when you describe your finger
 16    being indexed along the frame of the weapon, that's
 17    your trigger finger?
 18           A     Yes.
 19           Q     On your dominant hand?
 20           A     Yes.
 21           Q     What's your dominant hand?
 22           A     Right.
 23           Q     Okay.    The trigger finger of your right
 24    hand.      And that would be outside the trigger guard;
 25    correct?


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  1           A    Yes.
  2           Q    Okay.    And what's your understanding of
  3    the protocol for handling the weapon on -- in the
  4    type of circumstances that you've been describing to
  5    me, with regard to how many hands you use?            Are you
  6    supposed to use two hands if you can?
  7           A    If -- we're taught to shoot one-handed.
  8    We're taught to shoot with both hands.
  9           Q    Is there a preference?
 10           A    Depending on the situation.
 11           Q    Is there a -- is there a training -- are
 12    you trained that it's preferable to do one or the
 13    other, unless the situation dictates otherwise?
 14           A    Unless the situation dictates otherwise, I
 15    generally shoot two-handed, if that answers your
 16    question; but we're taught to shoot either
 17    one-handed or two-handed.
 18           Q    That answers my question.         As I understand
 19    it, your preference is, if you can, you want to use
 20    both hands?
 21           A    Yes.
 22           Q    Okay.    And is it fair for me to say that
 23    that's true for most officers?          Don't most officers
 24    want to use two hands, unless there's some reason
 25    not to?


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  1                MR. THAGGARD:      Object to form.
  2    BY MR. MALTA:
  3           Q    In your experience.
  4                MR. THAGGARD:      Same objection.
  5    BY MR. MALTA:
  6           Q    You can answer the question.
  7           A    I would say, in my experience, officers
  8    generally shoot two-handed unless they are otherwise
  9    occupied.
 10           Q    Okay.    Unless there's a reason not to; is
 11    that fair?
 12           A    Or unless they're instructed not to.
 13           Q    Okay.    All right.     You didn't receive any
 14    instructions on how to hold or use your weapon on
 15    October the 2nd, 2013, did you?
 16                MR. WOLF:     Object to the form.       It's sort
 17           of a vague question.
 18                MR. MALTA:     Okay.    I'll --
 19                MR. WOLF:     Are you talking about that
 20           night, were you given additional instructions?
 21           That sort of --
 22                MR. MALTA:     Let me -- let me rephrase the
 23           question.
 24                MR. WOLF:     Yeah.
 25


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  1    BY MR. MALTA:
  2           Q     On October the 2nd, 2013, you were relying
  3    on training that you had received.          You didn't
  4    receive any specific instructions that day, "Okay,
  5    Agent Dulaney.       This is the way you're to hold your
  6    gun."      You didn't --
  7           A     No.
  8           Q     Nobody told you anything like that; did
  9    they?
 10           A     No.
 11           Q     Okay.   You're relying on your training up
 12    to that point; correct?
 13           A     Yes.
 14           Q     Okay.   And as you've entered the building
 15    as you've already described, and you've already
 16    taken us through your going into the building and
 17    through the front common area and into the short
 18    hallway, how do you recall you were holding your
 19    weapon?
 20           A     At what point?
 21           Q     Throughout that period of time.
 22           A     I would say probably at -- with both hands
 23    at a ready gun until I came to that doorway.
 24    Obviously, if I checked the door to see if it was
 25    locked, at some point it was in one hand.            I was


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  1    using the other hand to check the door.
  2           Q    Do you recall which?
  3           A    No.   I don't.     When I kicked the door and
  4    started through, I don't recall.
  5           Q    Okay.    So did you kind of back up to
  6    execute the kick on the door?         Do you remember?
  7           A    I don't.
  8           Q    Okay.    When you did kick the door, do you
  9    recall how you were holding the weapon at the time
 10    you kicked the door?
 11           A    I don't.
 12           Q    Okay.    What does your training dictate?
 13    How are you supposed to hold your weapon when you're
 14    forcing a door in that manner?
 15           A    Generally, when I -- if I was going to
 16    kick the door, the gun would be down to my side
 17    (demonstrating), pointed straight down toward the
 18    floor, as I was kicking the door.
 19           Q    Okay.    And you're -- you're indicating
 20    with your body that you're holding it in one hand,
 21    in your dominant hand, down along your right -- the
 22    side of your right hip?
 23           A    I would -- there again, I don't remember
 24    exactly what I did.
 25           Q    Yeah.    My question isn't -- I understand


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  1    you don't remember and I'm not criticizing you for
  2    that.      My question is:    What would you normally do?
  3    And I understand you to say that you would normally
  4    hold the gun in your right hand, facing the floor
  5    down along your right hip; is that accurate?
  6           A     Yes.    And my reasoning would have been as
  7    I come up and kicked the door, if I've got the gun
  8    up here, now the gun is pointed at --
  9           Q     At you.
 10           A     -- that either/or leg.
 11           Q     I understand.     Okay.    I understand.
 12    And -- all right.      So you don't recall what hand or
 13    if what -- if you had the gun in both hands at the
 14    time you kicked the door?
 15           A     Just -- I just said that when -- as I
 16    kicked the door, the gun probably would have been in
 17    my right hand to my right side.
 18           Q     Okay.   All right.     And pointing down at
 19    that point?
 20           A     Yeah.
 21           Q     Okay.   All right.     And then after you
 22    kicked the door open, what, if anything, did you do
 23    with your hands?
 24           A     I'm sure I would have came back up to
 25    proceed through the doorway (demonstrating).


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  1           Q    Okay.    And you're indicating that you
  2    would have come back up -- brought your gun back up
  3    to chest level or thereabouts in both hands?
  4           A    Yes.
  5           Q    Is that what you think happened?
  6           A    There again, I don't remember this.
  7           Q    Okay.    Do you recall talking to the
  8    investigating officers and the sheriff separately
  9    about switching hands?
 10           A    I really don't.
 11           Q    Okay.
 12           A    And this is -- there again, this is all
 13    happening in a matter of seconds.          And I'm trying to
 14    process in my mind right after all -- everything
 15    there happened, with everything running together,
 16    I -- I may have said something about switching
 17    hands, may not.      I don't recall.      I may have swapped
 18    hands to check the door and then swapped back.             I
 19    don't recall.
 20           Q    The gun discharged because you pulled the
 21    trigger; right?      Is that correct?
 22                MR. WOLF:     Object to the form.
 23    BY MR. MALTA:
 24           Q    Why did the gun discharge?
 25           A    I would say the gun discharged because the


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  1    trigger was depressed.
  2           Q    Okay.    And you depressed the trigger;
  3    right?
  4           A    Unintentionally, yes.
  5           Q    Okay.    And I'm not saying that you did it
  6    intentionally.
  7           A    Okay.
  8           Q    I'm just asking, it was your finger that
  9    pressed the trigger; correct?
 10           A    That would be correct.
 11           Q    Okay.    And would it have been your regular
 12    right index finger or do you recall?
 13           A    It would have probably been my regular
 14    right index finger.
 15           Q    Okay.    All right.     And how do you account
 16    for your regular right index finger traveling from
 17    outside the trigger guard inside the trigger guard
 18    to pull the trigger?
 19           A    As I was going through the doorway, I hung
 20    my foot in the threshold of the doorway.
 21           Q    Okay.
 22           A    I stumbled forward.       I did not fall.      I
 23    lost -- I did not fall to the ground.           I lost my
 24    balance.    My only account for it is that it is a
 25    sympathetic response of the body, as you start to


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  1    fall, to try to catch yourself or to clench.
  2           Q    Okay.    All right.     So you're thinking that
  3    as a sympathetic response, you clenched your right
  4    hand and the -- and your finger engaged the trigger?
  5           A    You -- I don't know.        That is my only
  6    thinking in my mind that's what caused it.
  7           Q    Okay.    I'm just wondering if your -- if
  8    your finger was where it was supposed to be, indexed
  9    along the frame of the weapon outside of the trigger
 10    guard, if you had a involuntary sympathetic response
 11    and clenched your finger, wouldn't it clench on the
 12    outside of the trigger guard?
 13           A    Don't know.
 14           Q    I mean, that's what the trigger guard is
 15    for, correct, is to -- is to prevent an accidental
 16    discharge; is that correct?
 17           A    I would say that would be correct.
 18           Q    Okay.    So your memory today is that you
 19    don't recollect, as you were going through the door,
 20    switching gun hands; is that right?
 21           A    No.
 22           Q    Okay.    What did you see in the room as you
 23    kicked open the door?
 24           A    The room was very dimly lit.         I think I
 25    heard MBI say, after the fact, there may have been a


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  1    black light on in the room.         I don't remember.
  2    There was a -- to the best of my recollection, more
  3    or less an open area to the left.          There was a bed
  4    turned, it seems like, at an angle inside the
  5    doorway.    The room was fairly small.         But as far as
  6    Ms. Dunn, I never perceived her to be there.
  7           Q    Okay.    And is it also fair for me to
  8    conclude that you didn't perceive any specific
  9    threat from the bedroom when you kicked in the door?
 10           A    I didn't perceive a -- outside of the
 11    inherent threat of running the high-risk warrant, as
 12    far as her in particular, I did not even perceive
 13    her to be in the room.        Therefore, no, I cannot
 14    perceive a threat from her.         I never saw her.
 15           Q    Okay.    All right.     So you weren't
 16    responding to a sudden movement or any other kind of
 17    threat like that.      You just -- you just fell?
 18           A    I never perceived her to be there until
 19    after the discharge.
 20           Q    Okay.
 21           A    And then I could not physically see her.
 22    All I could see was the bedding on the cover start
 23    to come -- the cover on the bedding start to come
 24    forward.
 25           Q    Okay.    At what point did you realize you


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  1    had shot her?
  2           A    Not until after I had placed her in
  3    handcuffs.     After the discharge, after I saw the
  4    movement, I immediately went to her, tried to make
  5    sure she wasn't injured.        I checked her as quickly
  6    as I could inside the room.         I didn't see any
  7    physical injury.      I asked her if she was all right.
  8    I believe she said, "My hand is cramping."            She was
  9    already in handcuffs at that time.          I checked her
 10    again, tried to make sure she wasn't injured.             I did
 11    feel a little bit of blood on my hand.           Once I saw
 12    that, I immediately took her out the front door of
 13    the residence.      Major -- or excuse me -- Chief
 14    Deputy Calhoun was standing in the yard.            I went
 15    straight to him, explained to him what happened.                 He
 16    immediately called an ambulance, and within just a
 17    couple of minutes the ambulance was there.
 18           Q    Okay.    Did you place Ms. Dunn in handcuffs
 19    in front of her back or -- I mean, in front of
 20    her -- in front of her torso or behind her back?
 21           A    Behind her back.
 22           Q    Okay.    And when did you realize that she
 23    had been shot?
 24           A    Like I said, I -- I checked her as soon as
 25    I got her up, made sure I didn't see any blood or


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  1    anything.    I didn't see any, put her in handcuffs.
  2    She again said something about her hand cramping.                I
  3    checked her again, as best I could in that -- in
  4    that room.     I still couldn't actually see a wound,
  5    but I did have blood on my hand.
  6           Q    Okay.
  7           A    At that point I carried her straight out
  8    the door.
  9           Q    Okay.    So at the time you found blood on
 10    your hand, did you -- you knew she had been wounded?
 11           A    Yes.
 12           Q    Okay.    Okay.
 13           A    Or I assumed she had been wounded.
 14           Q    Okay.    Okay.    I've noticed in the
 15    deposition today that your right middle finger seems
 16    to be bent.     Is that a -- when did -- is that as a
 17    result of an injury?
 18           A    Yes.
 19           Q    When did that occur?
 20           A    2007 maybe.
 21           Q    Okay.    Is that -- so I'm assuming that's a
 22    permanent --
 23           A    It is.
 24           Q    That finger is, like, frozen in a
 25    permanent position?       Is it a --


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  1           A    Well, it will move.
  2           Q    Okay.
  3           A    It only has limited movement
  4    (demonstrating).
  5           Q    Okay.    Does the limited movement in your
  6    middle finger -- and I understand that's not your
  7    trigger finger, but it is your dominant hand; right?
  8           A    Yes.
  9           Q    Does it affect your ability to hold a
 10    sidearm?
 11           A    No.
 12           Q    Okay.
 13           A    Actually, it's just the opposite.           If I
 14    had it fixed, it would be fused straight, which
 15    would interfere with my ability --
 16           Q    Okay.
 17           A    -- to grab and hold a firearm.          As it is,
 18    that's where your hand normally ends up anyway
 19    (demonstrating).      So, no, it doesn't.
 20           Q    Okay.    So you don't think that that --
 21    that that condition contributed to cause the
 22    incident that we're talking about today?
 23           A    No.
 24           Q    Okay.    After this negligent discharge that
 25    you described, what became of the firearm?


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  1           A    It was taken from me on the scene by --
  2    excuse me -- by Major Greg Lea.          Where it went from
  3    there, I'm assuming it went to MBI.
  4           Q    Mississippi Bureau of Investigations?
  5           A    Yeah.
  6           Q    Okay.    Did you ever see the gun again?
  7           A    Yes.    It -- I can't remember how long it
  8    was gone.    For a period of time.        I assume they
  9    brought it back to the sheriff's department and it
 10    was reissued back to me.
 11           Q    Okay.    And then you carried it in-service
 12    again for some period of time?
 13           A    Yes.
 14           Q    Okay.    And then at what point -- let me
 15    strike that and ask you this.         I understand from
 16    talking to your attorney that the gun did not belong
 17    to you, as it sometimes does in some agencies, but
 18    that it was a true department-issued firearm; is
 19    that true?
 20           A    It was.
 21           Q    Okay.    And at what point was that firearm
 22    turned back in to the department?
 23           A    As far as a date, I couldn't tell you.               I
 24    believe --
 25           Q    Can you approximate for me?


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  1           A    I really can't.      Probably, I would say,
  2    over a year ago.
  3           Q    Over a year what?
  4           A    Ago.
  5           Q    A year ago from now?
  6           A    I would -- there again, I don't remember
  7    specifically.
  8           Q    Okay.
  9           A    I know the department changed out their
 10    arsenal weapons.      The old weapons were traded in to
 11    whoever they bought the new weapons from.            And once
 12    I turned it back into the department, I assume it
 13    went to whoever bought them.
 14           Q    Okay.    So that weapon was exchanged for
 15    another one, as far as you understand it?
 16           A    Yes.
 17           Q    Okay.
 18           A    Traded in on.
 19           Q    Okay.    What was the new weapon that was
 20    issued to you?
 21           A    My Glock 21.
 22           Q    And --
 23           A    Gen 4.
 24           Q    I'm sorry?
 25           A    Gen 4.


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  1           Q    A Gen 4.     Okay.
  2                       All right.    Were you offered an
  3    opportunity to buy the old Gen 3?
  4           A    I was.
  5           Q    And you declined that opportunity?
  6           A    I did.
  7           Q    Okay.    So as far as you know, it's gone
  8    back to the distributor?
  9           A    Yes.
 10           Q    Okay.    Did you ever see any documentation
 11    of any inspection of the weapon conducted by MBI?
 12           A    I did not.
 13           Q    Okay.    I understand that the weapon might
 14    have gone to the crime lab.         Did you ever see any
 15    crime lab report related to an assessment or
 16    inspection of the weapon?
 17           A    I didn't.
 18           Q    Okay.    Did anybody ever tell you that it
 19    was inspected by the crime lab?
 20           A    No.
 21           Q    Okay.
 22           A    I just assumed that it -- there again,
 23    that's my assumption.       Now, when it was taken from
 24    me, it went to MBI and they -- they did some sort of
 25    inspection on it.      I don't know.


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 1                       REPORTER'S CERTIFICATION

 2                       DEPOSITION OF KEN DULANEY

 3                           JANUARY 24, 2017

 4         I, Megan Reeves, CCR, Court Reporter and Notary at
      Large in and for the State of Mississippi, do hereby
 5    certify that the foregoing pages, and including this
      page, contain a true and correct transcript of the
 6    testimony of the witness, as taken by me at the time and
      place heretofore stated in the aforementioned matter, by
 7    machine shorthand with electronic verification, with
      assistance of computer-aided transcription, to the best
 8    of my skill and ability.

 9         I further certify that I placed the witness under
      oath to truthfully answer all questions in this matter
 10   under the authority vested in me by the State of
      Mississippi.
 11
           I further certify that I am not in the employ of, or
 12   related to, any counsel or party in this matter, and have
      no interest, monetary or otherwise, in the final outcome
 13   of this proceeding.

 14        Witness my seal and signature on this 7th
      day of February, 2017.
 15

 16

 17

 18               __________________________________

 19               Megan Reeves, CCR
                  Notary Public
 20               My Commission Expires: 2-5-2018
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 21               4521 Poplar Springs Drive
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